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MARCEREAU & NAZIF

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ATTORNEYS FOR CREDITORS and PLAINTIFFS
Kelli Peters, Bill Peters and Sydnie Peters

UNITED STATED BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA — SANTA ANA DIVISION’

In re: Case No. 8:16-bk-10223-ES st
Adversary Case No.: 8:16-ap-01114-ES
Kent W. Easter, dba Kent Easter

Consulting, dba Law Offices of Kent W. PLAINTIFFS’ RESPONSE TO
DEFENDANT’S ADDITIONAL

Easter MATERIAL FACTS IN DISPUTE
Date: November 10, 2016
Kelli Peters, Bill Peters and Sydnie Peters, Time: 10:30 a.m.

Department: 5A
Plaintiffs,
VS.

Kent W. Easter, dba Kent Easter
Consulting, dba Law Offices of Kent W.
Easter,

Defendants.

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PLAINTIFFS’ RESPONSE TO DEFENDANT’S ADDITIONAL MATERIAL FACTS IN DISPUTE

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TO THE HONORABLE ERITHE A. SMITH, UNITED STATES
BANKRUPTCY JUDGE, THE DEFENDANT, AND OTHER PARTIES-IN-
INTEREST:

Plaintiffs Kelli Peters, Bill Peters and Sydnie Peters. (“Plaintiff”) submits the
following Response to Defendant’s Additional Material Facts in Dispute in support of their

“Motion for Summary Judgment” in the above-captioned adversary proceeding:

1. Declaration of Kent Easter | 1. Objection, relevance.

44 Subject to this objection,
Disputed. See the Parties’
stipulation attached as
Exhibit 3 to Marcereau
Declaration in Support of
MS] (“Marcereau Decl.”) at

71-4, 48.

Easter’s actions were willful.
See Exhibit 5, Trial
Testimony of Kent Easter

1 Defendant Kent Easter did [p.191:11-16] and Ex. 6,
not intend to cause injury to Trial Testimony of Kent
Bill Peters. Easter [p.284:14-18.]

To prove non-
dischargeability, a creditor
need only show that harm is
“reasonably foreseeable”
[Britton v. Price (9th Cir.
1991) 950 F.2d 602, 605],
which has already been
established via Easter’ s
signed stipulation and the
judgment against him for
“Intentional Infliction of
Emotional Distress.”’)

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PLAINTIFFS’ RESPONSE TO DEFENDANT'S ADDITIONAL MATERIAL FACTS IN DISPUTE

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2. Defendant Kent Easter did
not intend to cause injury to
Sydnie Peters.

2. Declaration of Kent Easter

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2. Objection, relevance.
Subject to this objection,
Disputed. See Id.

To prove non-
dischargeability, a creditor
need only show that harm is
“reasonably foreseeable”
[Britton v. Price (9th Cir.
1991) 950 F.2d 602, 605],
which has already been
established via Easter’s
signed stipulation and the
judgment against him for
“Intentional Infliction of
Emotional Distress.”)

3. On August 12, 2016, the
judgment in the State Court
Action was appealed.

3. Defendant’s Request for
Judicial Notice, Ex. 1

3. Undisputed but irrelevant.
See Cobe v. Smith (In re
Cobe), 229 B.R. 15, 17-18
(B.A.P. 9th Cir. 1998) (an
appeal of a California state
court judgment “does not
provide a basis for refusing
to apply collateral
estoppel.”’)

4. The punitive damage
award in the judgment was
based on “malice, oppression
or fraud” in the disjunctive.

4. Plaintiffs’ Request for
Judicial Notice, Ex. 2

4. Undisputed but irrelevant.

5. The Plaintiffs’ judgment is
currently on appeal in the
Fourth District Court of
Appeal, Division Three.

5. Defendant’s Request for
Judicial Notice, Ex. 2

5. Undisputed but irrelevant.
See Cobe v. Smith (In re
Cobe), 229 B.R. 15, 17-18
(B.A.P. 9th Cir. 1998) (an
appeal of a California state
court judgment “does not
provide a basis for refusing
to apply collateral
estoppel.”)

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PLAINTIFF’S RESPONSE TO DEFENDANT’S ADDITIONAL MATERIAL FACTS IN DISPUTE

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6. Defendant’s criminal
conviction for false
imprisonment did not
determine that Defendant
specifically intended to
cause injury to Kelli Peters
because the jury was
instructed that felony false
imprisonment was a general
intent crime and did not need
a finding of specific intent.

6. Undisputed. 6. Irrelevant. Kent Easter
has admitted to liability for
Intentional Infliction of
Emotional Distress. See the
Parties’ stipulation attached
as Exhibit 3 to Marcereau
Decl., {1-4. Easter also
admitted that he intended to
harm Kelli Peters.

See Exhibit 5, Trial
Testimony of Kent Easter
|p.191:11-16] and Ex. 6,
Trial Testimony of Kent
Easter [p.284:14-18.]

Dated: October 27, 2016

MARCEREAU & NAZIF

/s/ Robert H. Marcereau
Robert H. Marcereau
Attomeys for Plaintiffs

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PLAINTIFF’S RESPONSE TO DEFENDANT’S ADDITIONAL MATERIAL FACTS IN DISPUTE

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
26000 Towne Centre Drive, Suite 230, Foothill Ranch, California 92610

A true and correct copy of the foregoing document entitled (specify): PLAINTIFF’S RESPONSE TO DEFENDANT'S
ADDITIONAL MATERIAL FACTS IN DISPUTE will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
10/27/16, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

United States Trustee: ustpregion16.sa, ecf@usdo].gov
Trustee, Weneta M Kosmala: ecfalert+Kosmala@ititlexi, com
Attorney for Debtor/Defendant: kmurphy@goeforlaw.com

L_] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date) 10/27/16, | served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a seaied envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Debtor/Defendant: Attorney for Debtor/Defendant: Trustee:

Kent W Easter Robert P Goe Weneta M Kosmala

153 Baywood Dr. Goe & Forsythe, LLP 3 MacArthur Place, Suite 760
Newport Beach, CA 92660 18101 Von Karman, Ste 1200 _ Santa Ana, CA 92707

Irvine, CA 92612
L] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 10/27/46 | served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Judge: Hon. Erithe A. Smith, U.S. Bankruptcy Court Central District, 411 W. Fourth St., Suite 5040 / Ctrm 5A, Santa Ana,
CA 92701-4593

[1 Service information continued on attached page
declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

10/27/2016 Nicole Lipowski ‘si Nicole Lipowski
Date Printed Name Signature

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 ~ F 9013-3.1.PROOF.SERVICE
